 Case 1:18-cv-00632-RJJ-PJG ECF No. 16 filed 08/06/18 PageID.179 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



JOHN HEYKOOP,

                Plaintiff,
                                                           CASE NO. 1:18-CV-632
v.
                                                           HON. ROBERT J. JONKER
MICHIGAN STATE POLICE, et. al.,

            Defendants.
__________________________________/

                                            ORDER

         This matter came up for a Rule 16 scheduling conference on August 3, 2018. During the

conference, Plaintiff voluntarily dismissed his state law claim (Count V) and Defendant Michigan

State Police from the case. Based on all matters of record, and for the reasons the Court stated

during the hearing, the Court concludes that dismissal of Defendant Roesler under FED. R. CIV. P.

12(b)(6) is appropriate, but that the federal claims against Defendants White and McIntire may

proceed. Accordingly, Defendants’ Motion to Dismiss (ECF No. 11) is GRANTED to the extent

Defendants seek dismissal of Defendant Roesler under FED. R. CIV. P. 12(b)(6); is DENIED to the

extent Defendants seek dismissal of the federal claims against Defendants White and McIntire;

and is DISMISSED AS MOOT to the extent Defendants seek dismissal of Defendant Michigan

State Police and Plaintiff’s state law claim (Count V). Defendant Roesler and the Michigan State

Police are DISMISSED from the case, as is Count V.

         IT IS SO ORDERED.

Dated:      August 6, 2018                  /s/ Robert J. Jonker
                                            ROBERT J. JONKER
                                            CHIEF UNITED STATES DISTRICT JUDGE
